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                                   Under Seal              27,
                                                                  1


    **************************
                             *
                           , *
                             *
                             *
                             *
            v.               *
                             *
                             *
                             *
                             *
                             *
    **************************


                             ,                       ,


                         ,                       ,                    ,
                     ,
                                                                               James M.



                ______________________________________________________


                ______________________________________________________

            ,
       This matter comes before the Court on the parties’ cross

Group, LLC (“Authentic”)                                                  by


1

                                                                                      ,
                                     ,
         Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 2 of 38



advertising featuring Authentic’s             , Dwayne “The Rock” Johnson. 2
                                          by
its relationship with the Army’s Morale, Welfare and Recreation Fund.
                v                                            by


                        .
                                          Plaintiff’s                                            ,
and Defendant’s                                                           .

                                                                                      Authentic’s
                                                                                                ,
                                                            Army’s
     —



                                                 —

                        , were subject to a warehousemen’s lien


       As to Defendant’s counterclaim, there is no dispute that Plaintiff failed to pay royalties—
              s quantum. As such, Defendant’s counterclaim is granted as to liability,

                                                        3




                                                                     d

         irective 5535.09, “DoD Branding and Trademark Licensing Program,” the objectives of
trademark licensing include “[e]nhancing the name, reputation and public goodwill of the DoD

products and services at reasonable prices.” Def.’s Mot. Summ. J. at A1288.



2




3
                                         the exhibits to the parties’ summary judgment papers.



                                                2
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                                                                                  “        ”
a licensing agency headquartered in New York City, to assist in managing the Army’s trademark
licenses in exchange for a percentage of royalties the licensees paid to the Army. Beanstalk’s
contract allowed it to act as the Army’s nonexclusive agent “
                 .”                         ’s                               wi
               .

                                                                                           1196.
The Army’s 2007 Licensing Agreement with All American Apparel


                              at A565, A318.
          , Ron Reuben was Authentic’s founder and chairman.
of Authentic, Mr. Reuben ran a company called All American Apparel Company, Inc. (“All
American”), which made Army
                                                        d on 25, 2007.
                       2007
Army logos                                                        at A1291, A1323.



                         .                                           2007            ,
                              the Army’s approval of any clothing, design, label or promotional or

Army’s trademarks appeared.
                2007              covered men’s, women’s, and children’s apparel and certain shoes
                                                                      4
            .
                                                                                (“Free on Board”)
                                                       17.



All American’s Bankruptcy




       In July 2010,
                                  10,         ,
sale of All American’s assets to Authentic submitted to the Bankruptcy Court expressly excluded

4


31, 2010.
                                                   3
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All American’s inventory. IDS USA, Inc. (“IDS”), a creditor of All American, advised the
                  at it possessed a warehouseman’s lien over inventory being housed in its



to pay All American’s landlord, bankruptcy attorneys, and IDS storage charges. Def.’s Mot.
                           47.
loan financed by All American’s president, Robert McGui

Bankruptcy Court’s “Order Authorizing Distribution of Funds from Net Proceeds of Debtor’s
Liquidation of Remaining Inventory” and was invited to file any objection with the Bankruptcy
                  47.
                    ,
                                                   135 37.
           ) the contract rights relating to All American’s license with the Army to use the brand

                                                                                               135.
                                         “all cash, accounts receivable, leases, and existing stock
           ‘            ’).”      126.
       Mr. David Wander, All American’s attorney in the bankruptcy proceeding,



                                                                            ’s

                                                    ’
           rmy’s license agent, the Beanstalk Group.




Def.’s Mot. S     .
“on board” with the sale and
 he 2010


                                                                                           ,
   40 42,
with the Army’s input.             ,       88.



trademarks, including “U.S. Army,” “Army Strong,” as well as the Army logo on men’s, women’s,

                                                 4
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and children’s clothing to be sold within the United States.




           ’s Request for


Army’s prior approval of any clothing, design, label or
          the “sole and absolute”
                                                         . Under Section 5.1, “[p]rior to any sale
or distribution” of any items bearing Army trademarks, Authentic was required to “submit to [the
Army] all items [bearing Army trademarks] . . . for [the Army’s] advance written approval, in [the
Army’s] sole and absolute discretion[.]”        at A10. Approval was required for all “produc
packaging, labeling, point of sale materials, trade show displays, sales materials and advertising”
prior to making sales. With respect to approvals under the Agreement, Beanstalk was the Army’s

                                           ,         .


items listed in section 5.1 “prior to [the Army] granting          written approval.”             1
                                                        10
                      ’s submissions. If the Army d no




                                                             ’s failure or refusal to grant any




                                                                                          . . .

                                                 5
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 6 of 38




                              [the Army]’s




The Liquidation of All American’s Assets


                                                  issued
funds from the net proceeds of All American’s liquidation of remaining inventory to creditors.

“                                                                      ” Def.’s Mot.
Count V      143.




       storage and shipment of the Inventory (the “Storage and Shipment Costs”), IDS’




                                                           e Bankruptcy Court’s Order, was to be

Possession Lender.
Collaboration with 7 Bucks and Partnership with Dwayne “The Rock” Johnson
                                    discussions with representatives of celebrity Dwayne “The
Rock” Johnson regarding a potential endorsement deal. Those discussions continued for half a
                                                                         ment, Inc. (“7 Bucks”),
                                                                            Def.’s Resp. Pl.’s
                 1668            .
                                             on



                                                6
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 7 of 38




                                                      was “projecting a lot greater sales” than the


represented to 7 Bucks that “all is on track with the Army.” Def.’s Mot. Summ. J.         43       d.



                             tems approved by the Army, noting that “[t]o date [Authentic had]
received approvals on over 200 different styles.” Def.’s Resp. Pl.’s


       Q:
               [“]The Rock[”


       A:

               the problems we’ve had. I think it’s common sense that we
                                                          If we didn’t feel
               wouldn’t have put in, you        —you
                        . So if we didn’t feel the confidence, we wouldn’t have done that.



             38.


                     72.


                           Def.’s Mot. Summ. J.


to Mr. Johnson because “[w]e needed somebody of the stature of Dwayne Johnson, and we
                     him.” Def.’s Resp. Pl.’s
                                         .




        Summary judgment is appropriate where the evidence demonstrates that there is “no
                                                         is entitled to judgment as a matter of law.”
                                                       , 477 U.S. 242, 247 (1986). A genuine issue
is one that “may reasonably be resolved in favor of either party.”                 , 477 U.S. at 250.

                                                  7
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A fact is material if it “might affect the outcome of the suit.”


              ,                                                                                               , 369
                           ’                          ,
Once the moving party’s burden is met, the onus shifts to the non

           movant’s favor.                         , 477 U.S. at 256 57

                                                                                                    ,
                               , 477 U.S. at 249           Mingus Constructors,                         91.
                                         ’
judgment, but “inferences to be drawn from the underlying facts . . . must be viewed in the light
most favorable to the party opposing the motion.”
Corp., 475 U.S. 574, 587 (1986) (quoting       d,

                                          ,
instances, “the cour                            ’
instance to draw all reasonable inferences against the party whose motion is under consideration.”
       ,
                        Preclude Plaintiff’s Claims Regarding the Army’s
Approve Products or Advertising.
                                                                                                                —
                           —                                   Plaintiff’s breach of contract cla


                       “                           ”


                                                                       ’s failure or refusal to grant any

                                               .
Def.’s Mot. Summ. J.
                       “               ”


                                                   ’s failure or refusal




upon                                       ,                                                ,
              d                                        government construction contract providing that “no

                                                           8
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caused by the United States.”        5.
        “unrestricted,” as “comprehensive as words can make it,” and “disassociated” from other
                                                 could not “
                            .”                               the “               ”
           Wells Brothers’                              .
                                               ,                                disavow
challenging the Army’s                                                ,
                 .                                                                        would “
                                                                        y                           ’s
failure or refusal to grant any approval” and that it would “not have any rights against
                                                            ’s failure or refusal to grant approval of
any advertising.” Def.’s                 .
                                                                     5.1,
                                the “sole and absolute discretion” to approve
                                                               .




               ’                                           ’
    .
              “any rights against                                                   y
        ’s failure or refusal to grant any approval”                            ”
        Plaintiff responds that, “
to protect the Licensor’s marks, do not in any rational world permit the Army—
‘                          ’—to turn an ordinary trademark license into an illusion.” Pl.’s Supp.


g                                                                                         ,          ,
                                   .                                        5535.09.
                                                        ed Authentic’s Submissions
                                                                   do not bar Authentic’s breach of
                   regarding the Army’s failure to approve products and advertising, Plaintiff’s



                            Agreement Used Under the 2007 Agreement.
        Plaintiff contends that “Defendant breached both the implied and express covenants of
good faith and fair dealing” by “completely changing the approval standards by, among other
things, imposing ‘size’ and ‘location’ requirements for

                                                   9
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unmerchantable as compared to the goods with which they had to compete.” Pl.’s
44.
                        that it was “‘           ’

Second License” because the 2007 and 2010 Licensing Agreements were “substantially identical
licenses,” and “[t]he only differences Plaintiff was told about how the Secon

                  .”      38 39.
             .


standards from the Army’s 2007 Agreement with All American.
                                 Plaintiff’s suggestion that the 2010 Agreem


either the 2007 Licensing Agreement or the Army’s pr

                 ll American’s bankruptcy attorney Mr. Wander and Authentic’s investor Mr.
   h    ,                          reement was “new” and separate from the 2007 Agreement
                                         Def.’s Mot. S                                 88,
       42.


                               the parties’ prior                —
                    —    interpret the contract’s provisions. The 2010 Licensing Agreement’s




                                                                                              , 329

                                           .                        ,
1996).          he parol evidence rule bars the use of extrinsic evidence “to supplement or modify
a written agreement.”                         ,                     , 465 F.3d 1329, 1339 (Fed. Cir.
2006
are given “particularly great weight.”             ,                   8.              ,
                                            “



                                                10
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 11 of 38



                                                     de the contract.”                 ,
                  .


                                                                              ,                          n
                                                ,
“the product of arms

           execution hereof.” Def.’s Mot. Summ. J.

                                                                                      ’s Mot. Summ. J.
           6                     34 Pl.’s                 3.
The Army Reasonably Rejected Authentic’s Submissions
       Authentic alleges in Count I of its Amended Complaint that “the Army consistently

of the Army’s registered trademarks by using the licensed Army trademarks as tr
of Authentic’s goods, its website and its advertising generally.” Am. Compl. ¶ 121.




licensees. Def’s. Mot. Summ. J.                                              ’
                                                                         5
                                            ’
                                                               ,


       Between December 2011 and April 2014, Plaintiff submitted 491 items to Beanstalk’s
          .
                                                      6




5
                                                                    ,        , Def.’s Mot. Summ. J.
      23 Def.’s Reply to Pl.’s Resp. to Def.’s Mot. Summ. J. at                88.
6
        nformation stored on Beanstalk’s                                          ’




                                                11
        Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 12 of 38



                                                                    b




                                                                           7
              Auth




7

uploaded to Beanstalk’s web portal.    BNSTK00000754                        747,
                                                                            798,

               TK00001648                                                  1643,

                                                                           2562,
                                                         2236,
2312.

                                       12
      Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 13 of 38




                    “please no overlapping, makes the shirt too busy and hard to see the content”




                .                                                              submission “not
approved.”
Beanstalk commented that the design would not be approved because of “too much overla
not proper usage of the brand.” BNSTK00001071. On May 15, 2012,

                                          16,                       38,                      41,
                                                                                      34.


                                    .


               submissions, Authentic included a tag that read “Manufactured for Authentic
Apparel Group,” followed by a name line, a serial number, and the phrase, “U.S. Army
Trademark.” Beanstalk requested that


                    —     can’t imply that this was
                                                          “


                                                13
Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 14 of 38



       ” Also, we can’t [say] US Army seals (as shown on the upper left corner


             78.
                                                                                 40,
                                                                                 74,
                                                                                 55,
             96.




         .


Unauthorized Creation of a
                                                                                   ,
         polo shirt designs via email stating: “Please find Authentic    ’


                                  proach.” Def.’s Mot. S


                                      14
      Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 15 of 38



       Before even opening the attachment your phrase, “current market trends,” sent a

       something we’ve
       a. Numbers 1, 2 and 3 are not approved and in fact are not “slightly altered” as they

                                            they couldn’t do (see attached document where



               g...




                           e “Elite Forces” line. We have clearly communicated that that

       is no “Elite Forces” brand . . . there is only the Army Brand with the Army logo.




  .      23           d.         ,      ,        , Def.’s Reply to Pl.’s Resp. to Def.’s Mot.
                   88.


                             asked Authentic to enlarge the Army’s logo or to place it in a more
prominent location. One comment read: “
products. This has been explained in the past.” BNSTK00002197 200.           read, “
products need more Army Branding!”               “ lease add Army branding to this SKU.”
                                           11.
                                                       .                        65 (“The Army
Logo needs to be bigger”),                     97,                 1004,                     48,
                   27,                      40,                                              80,
                   92,                      88,                    84,                       76,
                   80,                      63,                    96                        24,
                   20                       83,                    03,                       67,
                                            52,                    59,                       79,
                   96,                    72.



           x   “You need some Army branding on the outside of the p
               inside.” BNSTK00002227 29.

           x   “Move U.S. Army down to the back pocket flap
               pocket.” BNSTK00002505 07.


                                                 15
        Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 16 of 38



            x   “Put an Army Logo        on the front left pocket.” BNSTK00002491 2493.



                     ,                                             2367,                     2363,
                    2385,
2359,                           2355.                                                “           ”
                                   ’




                          Def.’s Supp. Br. Reply to Pl.’s Resp. to Def.’s Mot. Summ. J. at   1900,
                .


        .                                                                                      88,
                    16,                                                                        10,
                                                                                               42,
                                           87,                        83.



                                                 16
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 17 of 38



                                                                                                 ,
and the phrase “U.S. Army” can be seen on the tongue. The Army requested the
           “                  ogo”




                    75,         Def.’s Mot. Summ. J.        8 70, 200 03,            Def.’s Reply
to Pl.’s Resp. to Def.’s Mot. Summ. J. at      66.
       Authentic’s principal Ron
                                                     Def.’s Mot. Summ. J.       1057.
Reuben was asked whether he had any doubt that the Army’s position that its logo should be large
and featured prominently was taken in good faith, Mr. Reuben responded, “No. I do not think it
          —
licensing apparel would have taken that position if they were familiar with the apparel industry.”
                                           38, Def.’s Resp. to Pl.’s Mot. Summ. J. at


       At the Army’s behest, Beanstalk disapproved Authentic’s use of several emblems and
designs that were not included within the Army’s style guide,

           x                                                            55.

                                               17
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   x   The phrase “U.S.A.”                   40 “‘       ’         ‘     ’
                        reason this SKU will not be approved.” .

   x
                              60.

   x                                    30.

   x   Stars.                       2                                  36,
                                              73.

   x                                                                   19
                         71




                                         18
Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 19 of 38




   x                                                                              34




                                                           ,

   x   “Cannot remove the eagle from the U.S. Army Symbol. Please keep intact. Or use
                                      the style guide.” BNSTK00001673 76.

   x   “You can’t alter any Army Marks. This is too close to the Army symbol.”
                         59.

   x   “Can’t remove      tar from the gold star logo.” BNSTK00001970 72.

   x   “Cannot alter the Department of Army Vintage Crest Element. Please keep
       with stars per the style guide.” BNSTK00001720 23.




                                     19
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Authentic to create its own fictional insignias. Def.’s
provided “phantom” unit insignias—
that the Army approved “the use of the phantom insignia
                                                                                 .”
                               Authentic’s
                                                  ,

          x   “Not approved as per Brand Guidelines. You cannot create your own unit insignia.

              licensing.” BNSTK00000723 26.

          x   “                      xisted and was active during WWII. We can’t use it on
              licensed products.” BNSTK00000820 23.

          x   “Is this supposed to be a phantom unit insignia? If so, the shape and the colors are
              off. Please see [included URL] and make a change.” BNSTK00000663 66.

          x   “Plea
              not familiar with this one . . . Thanks.”                   54.

          x   “No unit insignia for licensing. ‘Tank Corps’ and that logo are not to be used on
              commercial merchandise.” BNSTK00002038 40.




          x   “The colors are too close to the U.S. Navy colors.” BNSTK00001586 92.

          x   “T                                                                          Army.”
                                  28.

          x   “Air force mark, please change to Army branding per the style guide.”
                              51.

          x   “You need to change the name. Admiral is a Navy rank equal to a General.”
                              .

          x   “             ‘A,’ as this is from West Point
              relevant to the Army.” BNSTK00002210 12.




                                                20
      Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 21 of 38




              of the Army’s requested                                     “trademark” and
“registered” symbols.     BNSTK00001435 (Resubmit with corrections: “Add a ‘TM’ after U.S.
Army”), BNSTK00002214 (Resubmit with corrections: “Please change the ‘TM’ to a ‘R’ per the
new brand guidelines.”), BNSTK00002247 54,                                             68,
                                       17,
“Put a registration mark after United States Army vice ‘TM’”), BNSTK00002535 38,
                   ,
     TK00001762,                     ,                                                    .




          x   “The Army symbol is too distorted.”                 .

          x   “Make some space around the Army Logo, and resubmit.” BNSTK00001597
                                                                             1047,
                                                                               95,
                                                                               80,
                    00001358 62.

          x   “What does ‘We are Bravo’ have to with the U.S. Army?” BNSTK00001953 56,


          x   “What does the ‘M24’ and ’57 ACR’ stand for?” BNSTK00000871.

          x   “What is ‘A2C2S’? and why do you say ‘Trademark’ after U.S. Army? Explain
              the a2c2s and remove the word ‘trademark.’ Not approved, per the COL at the
              Army, they do not want this for licensing. Thanks.”




                                             21
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   x   “We don’t want any object covering up the American lag”     1




                                   22
      Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 23 of 38



          x    “U.S. Army is too distressed on the breastplate. Can’t even read the whole word
              clearly. Please make it less distressed.”




                                           ,                           he Army’s
                                          designs

         up                                                                “manufactured for
                        ”                           ,

              —                                           . Def.’s Mot. Summ. J.        23.
                                                                        the “trademark” and
“registered” symbols be corrected.        ,
                             approval for Authentic’s proposed advertising, g

                              on Count I of Plaintiff’s




                                             23
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Licensing Agreement by “refus[ing] to permit
between consumers’ purchase of Authentic’s Army branded good
                                .”



       “                   ”




Pl.’s Mot. Summ. J. 28 29.8            ’s
un

                       .
                  program “provides support and leisure services to enhance the lives of
                                                                                                 ,
educational, and other program and activities.” Def.’s
                       —
                                                                 at A1273, A1197 98.




             at A1273, A1197 98, Def.’s Reply to Pl.’s Resp. to Def.’s Mot. Summ. J. at

     ding the MWR program: “By federal law, licensing fees paid to the U.S. Army for use of its

is donated to U.S. Army Morale, Welfare, and Recreation.” Def.’s Mot.

the more abbreviated language: “Purchase of Officially licensed U.S. Army merchandi

and their Families.” Def.’s Reply to Pl.’s Resp. to Def.’s Mot. Summ. J.


                                                      Def.’s Mot. Summ. J.
         In its draft press release introducing Dwayne “The Rock” Johnson as Authentic’s
                                                                                           69,
Def.’s Reply to Pl.’s Resp. to Def.’s Mot. Summ. J. at 1498            crossing out Plaintiff’s

8
       Plaintiff alleges that it suffered “money damages” as a result of this breach, but does not


                                               24
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 25 of 38



description that Dwayne “the Rock” Johnson would “continue the Philanthropic aspect of the

Recreation Organization”), 1500, 1507.




                                                                 on
                                                                      ed                     a
Proposed                            .
                       in Count III of its Amended Complaint that “by causing Authentic to lose


                                     9
         .” Pl.’s Am. Compl.
                     (“Samsung”)
“finance Authentic’s push into the footwear sector”       Samsung required the Army’s consent
for Samsung
                              143




                                        d
      Def.’s Mot. Summ. J.               49.        —
     —
                  angement whereby Samsung would finance Authentic’s planned footwear
                   ,       21.
                                                                                ,
       , entered into a “                      heet”
L&S LLC (“ALS”)
                                                                                    92        .

      19.
Samsung is ALS’s financial partner. As Mr. Loconte testified, “Samsun
                                           ” and “ hey own the accounts receivable. So that’s
my bank.” Def.’s Resp. to Order Attach. 5 at 11.                                      would
                                                                            “
                                  ” Def.’s Mot. Summ. J.


9


                                                 25
      Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 26 of 38




Army’s review.
                                                                                Samsung
                                                  Pl.’s     82.
                                          . Pl.’s     82.


           the Army’s consent to the Samsung                      Def.’s Mot. Summ. J.



       “            ”




                                    ’                                            ,

                ’




                                                                                y



                ’




                               .


            ,
     13,            ,

     my’s questions.




                                               26
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                                         5


                                             ’




                 ollowing the Army’s requests for more information, Authentic provided



“     ”                                          “              ”




                                                       ’



                                             ’
            d.           ,        35.


                                        27
       Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 28 of 38



                                                                                , stating, “The Army


it: Authentic, Samsung, and the Army.” Pl.’s
Ms. Predovan, “Any update? Time is running . . .”
                     , complaining about “[t]he delays in resolving this issue.”
17, 2013,                                             would
                          Pl.’s    83
           .’s Mot. Summ. J.          .
      Although Samsung was willing to finance Authentic’s footwear business, the deal never
                      lost interest and decided to “put their money elsewhere.           26,
    ,             17. Mr. Loconte testified that the sales agreement was “an agreement where
Samsung is in charge of the accounts receivable and we’re a sales agency,”

                                              . Def.’s Resp. to




               I don’t think so.
   .’s Mot. Summ. J.               17.                  ,“
                                                                               —
record, I think, the importer of the shoes. I think that’s where the deal went a little cold . . . .”
Def.’s Resp. to Order Attach. 5 at 24.




                retty much. Other opportunities or you know, maybe we weren’t as bullish
               as moving ahead, the economy wasn’t the best, buy

                                                                                      —



   .’s Mot. Summ. J.           .


        by taking five months to approve Plaintiff’s financing agreement.
faith and fair dealing “imposes obligations

                                                 28
         Case 1:15-cv-00016-MCW Document 392 Filed 12/20/19 Page 29 of 38



interfere with the other party’s performance and not to act so as to destroy the reasonable
expectations of the other party.”                                               3
2005). Fa
                                    , 742 F.3d 984, 990 (Fed. Cir. 2014). This duty “applies to the
government just as it does to private parties.”              ,




                                                ,                                       . The Army’s

                 realm of approving Authentic’s financing agreem
timeframe of Authentic’s choosing.


                 Authentic’s
                 Army was not responsible for facilitating Authentic’s                              ,

                                                                   Authentic’s
Samsung
the event of Authentic’s default on                 , Samsung’s request
                                                                   .
                                                                             Samsung            ,
     ,           ,             ,                                        Def.’s Mot. Summ. J.
                                                                           the parties’
Agreement is not an issue before this Court. But Samsung’s potential involvement
                                                                         .
                                                   “garden variety,” ’s                     1,
request for the Army’s consent was unprecedented as far as the Army was concerned. Def.’s Mot.
                   75.         Sullivan testified, “                          Authentic’s request

arrangement from any of its licensees.”
                  ,
               ng by                                                  Plaintiff’s proposed financing
                                                                        on                         ’s


           y                                   ’
                                                                                   by “

           ‘           ’] Johnson as Authentic’s lead public marketing spokesperson.”




                                                    29
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Authentic’s Creation of Promotional Videos



(“Ignited”) and its president, Eric Johnson, to create videos,                       “The Rock.”
Def.’s Mot. Summ. J. at A894. Plaintiff alleges that its business “effectively died when it made
                                     ,”
“
either approved or disapproved [by Beanstalk] in 2013,” and “the 2013 Holiday Selling Season
had been entirely lost.” Pl.’s Mot. Summ. J. 22 23.


to engage Dwayne “The Rock” Johnson. On April 29, 2013,




 l.’s    33.
                                                           Agreement’s requirements that
 uthentic obtain the Army’s prior approval for any marketing materials. The Licensing
                    provided that “LICENSEE shall submit to OWNER for authorization and


               .” Def.’s Mot. Summ. J.

                                         .


        Alternatively referred to as “Casting Call,” “Callbacks,” or “Stand Down Solider,” th

auditioning for the “U.S. Army line of clothing commercial.” Pl.’s
displaying a title card featuring Authentic’s brand logo.
“They thought they were coming in for just another audition.”
                              reading from scripts the line, “             .”
appears stating, “Until this guy showed up.”         Dwayne “The Rock” Johnson is then shown
                                                                                       “
d             ”                          Dwayne “The Rock” Johnson announces to viewers “the
official launch of Authentic Apparel U.S. Army line.”                                       ,



                                              30
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        The Army’s


        A:
                                                                        e’
                                                                                 “Stand down,
                       ”                    ’
                           ’                                        “                          ”
                   — ’                  ’
                                   ’                    ’


                                        *           *   *
                           ’       ’                        “                              ”
                               —
                 ’s not the words “stand down,” ’                                — ’
                 ’                ’—              ’                                    ’
                                                        ’                                      ’
                                                ’                            ’
                “Stand down, soldier,” you’                                                        ’
                                   ’                                ’        ’
                                          ’
                            ’s the way I’m—                     ’                                  ’
                        ’
Pl.’s    56       . Authentic’s Ms. McClennan understood that “ ’

              ” Def.’s Mot. Summ. J. at 1032.
                    Authentic determined that, “[i]n the greater scheme of things, there were so

was no longer on the top of the list.”
      approval to use the “Casting     ” video.
       Plaintiff argues that that the Army’s failure to approve Authentic’s “Casting Call” video
“could not have been an act other than in bad faith—
                                       ,”     that Defendant’s
                           —its use of the phrase “               olider”—
            Pl.’s Mot. Summ. J. 37.


Plaintiff’s
                  video’s manner of expressing Stand Down Soldier was inappropriate

Ms. McClennan, Authentic’s Acting Chief Marketing Office               Authentic decided to “take
[a] leap” and make the video, knowing that ultimately it might not be approved by the Army


                                                31
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                                                                         .
Def.’s Motion. Summ. J.                                 99.
        The Designers Video


               “an interview with our lead designers.”           A773. Alternately titled “Design
Process,” “Design,” “Designer,” “Meet the Designers,” and “Heritage,” the video is three minutes
                           . Pl.’s    23
identified as “Designer,” and Pablo Porfirio, identified as “Design Director,” discussing the history
of the Army as a fashion trendsetter, Authentic’s design philosophy, and materials used to create
Authentic’                                ; Def.’s Mot. Summ. J.


                                              Def.’s Reply to Pl.’s Resp. to Def.’s Mot.
             28 (showing “TITLE CARD:                        Authentic Apparel Group”
and “END CARD:                    Authentic Apparel Group”).


“Authentic Apparel” is used in the transcript, the video includes the phrase, “U.S. Army Brand.”
         Def.’s Reply to Pl.’s Resp. to Def.’s Mot. Summ. J.                28       Pl.’s   23.

          ’
                                         Pl.’s    23.
                     ough                                                                      .
Army’s                        Sullivan explained the Army’s reasoning:
                          ’

                                     ’
                ’                                  e’
                                                                                 —
                                                        –’


                               ’                                     —




Pl.’s    56

                                                 32
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       Alternately titled “Anthem,” “Manifesto,” “Designer,” and “D
Video,” the video is 52 seconds
                                                  Pl.’s



       When you’re making a movie, you want to make things look as real as possible.

       right down to the last detail. That’s what attracted




       doesn’t hurt either.
   Images of Authentic garments are interspliced periodically during Mr. Johnson’s monologue.



obtaining the Army’s prior approval. Def.’s Mot. Summ. J.                 ,        23,        92.
Authentic’s Ms. McClennan testified at her deposition that, “

                                                                              ”

                                                              —“within minutes.”         1022 24.


                              ’                                                          ’
                                                          ’
                                                                    ’


   Screenshots from Beanstalk’s portal indicate that th

                                                    76.
                                   d
                              .




                                                                                                ,
               “                                                                   .”


                                               33
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                     5535.09.


                                                                   on Count IV.
The Uncontested Evidence
                                                            .



“in order to help                      ” and recover the value of the goods.              229.10
      Plaintiff’s Count V harks back to All American’s 2007 Agreement with the Army.
American’s

            Pl.’s   53      .



        ,      78. Following the First Infantry women’s garments’ removal from circulation in
                                               ’ West Coast warehouse.
a statutory warehouseman’s lien against the goods due to the nonpayment of storage fees.
     ’s         Reply to Pl.’s Resp. to Def.’s Mot. to Dismiss         574, 576.
                                               o
       American’s                                                                  .




                                           .
                                                                               —
                                                                  11



10
                                                          —
All American’s womenswear inventory—

11

compensation related to the First License Agreement. Indeed, a section of Plaintiff’s Response to
Defendant’s Motion to Dismiss is entitled “Authentic Makes No Claim for Recovery Und
First License Agreement.”               ’s             “
                                       ”        Def.’s                “
                          ”
                                           lized Plaintiff’s representation that “[t]he parties

Agreement.”
                                                   34
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                                                   in All American’s inventory. Def.’s Mot. Summ. J.
      47.                          All American’s inventory, including First Infantry insignia garments,
                                                 ,
                                                                                                       ,
                               .
       Mr. Reuben claimed that in order to help meet Authentic’s needs for cash, he, on behalf of
                                                                  “          ”

Infantry women’s garments produced by All American.
                                                                     Hr’g on Def.’s Mot. to Dismiss 29
                  (Plaintiff’s counsel stating, “It’s all oral . . . nd Mr. Reuben’s negotiation with
himself, he didn’t reduce that to writing either”).
is Mr. Reuben’s deposition testimony.         Def.’s Mot. Summ. J. at



      ntic from assigning or subleasing “part of all of the agreement”:


                                                                                 ’
                                   ’




                    ’
                                                                          Def.’s Mot. to Dismiss Count


                        contrary to Mr. Reuben’s unsupported testimony about this oral “              ”

                                                                                                  .
“stock inventory” was expressly excluded from that sale
Def.’s Mot.            Count V           Om Batheja, Authentic’s outside investor, testified that
Authentic excluded All American’s inventory from the purchase agreement because “we didn’t
want to be involved with the old company,” but rather “[w]e wanted to start completely fresh.”
Def.’s Resp. to Order Attach. 1 at 162 163.
              ld acquire All American’s inventory, Mr. Batheja testified “no.”


any “proceeds” from a


                                                                                            ’s

                                                     35
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Pl.’s Resp. to                                                                       “       nd


           ”). Ms. Raoufi testified that All American “tried to . . . sell it by changing the logos . . .
. he Army didn’t want us to sell 1st Infantry anymore and so we tried different ways to have
patches and logos removed and put new patches on, but it just wasn’t very cost efficient.”
      2.
that “we wouldn’t have made
         ”
                                                                  ,
30, 2013,
“release at this time of apparel bearing the Army’s marks would violate the Army’s intellectual

                                               . . . .”

“all outstanding storage and other fees” by June 24, 2013.                       ,           .

                                 Hr’g on Def.’s Mot. to Dismiss 38                       .
                                                                               As such, the Army’s


                       , 742 F.3d 984, 991 (Fed. Cir. 2014).
                                                                                    ,
                                                               superseded by All American’s


                                                                                     .
Defendant’s Counterclaim:                    s Entitled to             Royalties on 2014 15 Sales
           its cross
                                                                   ,
                                                    2015. Def.’s


Defendant’s motion for summary judgment on Defendant’s counterclaim.
“admitted all of the material averments of [Defendant’s] pleading, namely that it made sales of

.” Pl.’s Consent Mot. 1. In response to Plaintiff’s motion, Defendant agreed that judgment should

this case. However, Defendant reserved the right to “put on relevant evidence at trial related to
[Plaintiff’s] sales and royalty obligations” and to “seek to amend [its] judgment or pursue other
                                  hat additional evidence related to [Plaintiff’s] sales activities is
disclosed.” Def.’s Resp. to Pl.’s Consent Mot. 2.



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trial, this Court determined that “there would

proceedings to amend judgment.”             ,


Plaintiff’s motion for entry of an order granting Defendant’s motion for summary judgment on its


                                                                                    ,     h

“supervisory” writ of mandamus in
asking the appellate court to reverse this Court’s August 22, 2017 decision
             Defendant’s               . The Court of Appeals denied Plaintiff’s petition the


       On April 10, 2018, Plaintiff again filed a motion for summary judgment on Defendant’s

                                                   d                   “ no doubt”
“Defendant is incapable of proving damages on its counterclaim in any sum different than
$41,011.96, together with statutory interest.” Pl.’s Mot.              1.




       it had “no intention of making the $17,980.92 payment” to the Army, Authentic




       by Auth


Def.’s Resp. to Pl.’s Mot. Summ. J. on Count V 1


                                   motion, we stated that Authentic Apparel reported “no
       sales” in 2010. In fact, Authentic Apparel’s royalty report for the fourth quarter of
       2010 reflects sales of $6,128 to Bloomingdale’s.



       uncertainty in our mind as to Authentic Apparel’s actual 2010 sal

                                                 37
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       Batheja’s testimony that Authentic Apparel placed orders of licensed goods in 2010
       to Saks Fifth Avenue, Bloomingdale’s, and Nordstrom. While sales resulting in




        n light of Defendant’s lack of certainty as to the quantum of its counterclaim,
on July 9, 2018, denied Plaintiff’s   ond motion that judgment on Defendant’s counterclaim in
                                                            .
                                                                                            on
Defendant’s                .
                                                                                              .




       Plaintiff’s motion for summary judgment on
                       .
       Defendant’s cross                                  on Counts I through V               .
       Defendant’s
                                                   on Defendant’s counterclaim


                                              proposing                             Defendant’s
              by               13, 2019.




                                              38
